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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




    UNITED STATES OF AMERICA,                           Criminal No.: lO-CR-851 (CCC)-l I

                                     Plaintiff,
                                                              ORDER EXTENDING
    VS.
                                                                DEFENDANTS
                                                              SURRENDER DATE
    SALVATORE LAGRASSO,

                                     Defendant.




          THIS MATTER having been opened to the Court upon defendant’s request, through his

attorney. Peter Till. Esq.. for an order extending defendant’s surrender date, and for good cause

shown,

          IT IS on this 2O day of January, 2015,

          ORDERED that defendant Salvatore Lagrasso’s surrender date is hereby extended from

   January 22, 2015 until February 12, 2015.




                                                  CLAIRE C. CECCHI, U.S.D.J,
